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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                    Norfolk Division

 BRIDGETT EDWARDS,

        Plaintiff,

 v.                                                         Civil Action No.: 2:10cv165

 MURPHY-BROWN, L.L.C.,

        Defendant.

               DEFENDANT’S MEMORANDUM OF LAW IN SUPPORT OF
               MOTION TO STRIKE PLAINTIFF’S EXPERT WITNESSES

        Pursuant to Federal Rule of Evidence 702 and Federal Rules of Civil Procedure

 26(a)(2)(B) and 37(c)(1), Defendant Murphy-Brown, L.L.C. (“Defendant” or “Murphy-Brown”),

 by counsel, moves this Court to strike the Plaintiff’s two proposed expert witnesses, Angelina

 Espinosa-Guanzon, M.D. and Gary Rotfus, L.C.S.W.

        Plaintiff Bridgett Edwards has identified two proposed experts, but only submitted a

 “disclosure” for one of them. The one “disclosure” submitted is only one paragraph long and

 does not come close even to minimal adequacy under the Rules.           It does not contain the

 mandatory elements required under the Rules and is so full of factual errors as to be unworthy of

 any credence. Both experts should be excluded.

                                        BACKGROUND

        The Claim

        At the heart of Plaintiff’s Amended Complaint is an incident that occurred on January 24,

 2008, when Plaintiff came upon a co-worker whom she alleges may have been looking through

 three small holes drilled in the door to the woman’s shower room. Plaintiff was clothed at the

 time; the door was promptly covered, caulked and then replaced; and the co-worker was fired.



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 Within a week, Plaintiff stopped coming to work. Ms. Edwards now claims she is permanently

 and totally disabled from any productive work because of this incident, and has asserted that she

 continues to suffer from Post Traumatic Stress Disorder (“PTSD”).

         The Proposed Experts: Dr. Espinosa-Guanzon

         Plaintiff has identified Angelina Espinosa-Guanzon, M.D. as an expert witness whose

 testimony Plaintiff will offer at trial; however, Plaintiff did not submit any expert report or any

 Rule 26(a)(2)(B) disclosures whatsoever regarding Dr. Espinosa-Guanzon.

         The Proposed Experts: Mr. Rotfus

         Plaintiff also has identified a social worker, Gary Rotfus, L.C.S.W., as an expert witness

 whose testimony she will offer in this matter. Plaintiff submitted a one-page report from Mr.

 Rotfus with no additional disclosures required under Rule 26(a)(2)(B).1 Mr. Rotfus’ report

 contains statements that are inconsistent with the allegations of Plaintiff’s Amended Complaint,

 as well as uncontested facts established during discovery. For example, the report states that

 “[w]hile changing in the women’s locker room, it was discovered that a male worker was

 ‘peeping’ through a hole in the door.” (Expert Disclosure of Gary Rotfus, LCSW, Ex. 1.) The

 undisputed facts show that Plaintiff’s co-worker, Ms. Felicia Tennessee, opened the door while

 both women were fully clothed and found Mr. Hernandez in the area outside the door. (Am.

 Compl. ¶ 19.)         There is nothing to support an inference, as Mr. Rotfus’ report suggests, that

 Plaintiff was peeped on while in a state of undress.

         Additionally, Mr. Rotfus’ report states that “[t]here were at least several men in the

 vicinity when this incident occurred.” However, Plaintiff’s Amended Complaint includes no

 such allegation. In her Amended Complaint, Plaintiff stated that she encountered one Hispanic


 1      Plaintiff’s expert disclosures were untimely. Plaintiff’s disclosures were due on August 15, 2011.
 Defendant’s counsel did not receive Mr. Rotfus’ report until August 29, 2011.


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 farm worker, Mr. Hernandez, as the door opened. (Am. Compl. ¶ 19.) Further, Plaintiff testified

 in her deposition that at the time of the incident, the only individuals at the farm were Plaintiff,

 Ms. Tennessee, “and one other worker there on the farm. The rest had gone home early.”

 (Edwards Dep. 15, Ex. 2.)

          Mr. Rotfus’ report and “diagnosis” (he is not a physician) is largely predicated on the

 proposition that Ms. Edwards “was not taken serious” after reporting the door incident to

 management and “there was not a thorough investigation.” However, these statements conflict

 with deposition testimony that Plaintiff’s supervisor investigated the incident between 6:30 a.m.

 and 7:00 a.m. the following morning (after learning of the incident the previous evening);

 ensured the holes were covered immediately with paper and then with caulk, and finally covered

 with a towel. A few days later, the whole door was replaced. (Flournoy Dep. 26-27, 42, Ex. 3;

 Epps Dep. 22, Ex. 4.) Additionally, Human Resource representatives interviewed farm workers

 about the incident, met with Plaintiff to discuss options, and worked with Plaintiff to transfer her

 to a nearby farm after learning of her continued uneasiness at Farm 8. (Brooks Dep. 20-24, 39-

 40, Ex. 5.) Further, upon learning that Mr. Hernandez pleaded guilty to a criminal charge related

 to this incident, Defendant terminated Mr. Hernandez’s employment.2

          To support his Post Traumatic Stress Disorder diagnosis, Mr. Rotfus states that Plaintiff

 has experienced “flashbacks of the locker room incident.” This statement directly contradicts

 Plaintiff’s sworn deposition testimony that she has experienced no such flashbacks.

                   Q: This was your conscious thinking about this, right? You
                   weren’t having – you weren’t seeing things, you weren’t having
                   flashbacks or dreams about it or anything like that; is that
                   correct?

    2    Mr. Hernandez was terminated despite the fact that he maintained his innocence. Mr. Hernandez explained
 to Defendant’s Human Resource Manager, Ms. Mary Beth Williams, that the person who accompanied Mr.
 Hernandez to court to translate for him told him that if he pleaded guilty to the charge “then this would all be over.”
 (Williams Dep. 10., Ex. 6.) Nevertheless, Defendant terminated Mr. Hernandez because of his guilty plea. (Id.)



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               A: No. Mentally, it was disturbing for me –
               Q: Okay.
               A: – because I never experienced anything in my life such as this.
               Q: All right. But, again, your conscious thinking about it, not
               flashbacks or dreaming about it or anything like that, right?
               A: No.
 (Edwards Dep. 69-70.) (emphasis added)

        Finally, Mr. Rotfus’ report states that Plaintiff’s “transition back to work has been very

 difficult due to her anxiety and mistrust since the work incident.” This statement also conflicts

 with Plaintiff’s deposition testimony. In her deposition, Plaintiff explained that she started

 working as a part-time home health care aide as soon as her disability benefit payments expired.

 (Edwards Dep. 11-14.) Approximately six months later, Plaintiff starting working as a full-time

 Certified Nursing Assistant (“CNA”) for a nursing home, while maintaining her part-time

 position as a home health care aide.       (Id. 8-11.)   Plaintiff juggled both jobs, working

 approximately 40 hours per week as a CNA and 15-25 hours per week as a home health care

 aide, for approximately seven months. (Id.) Because the demands of both jobs became too

 much of a burden, Plaintiff changed to a part-time schedule at the nursing home; however, she

 continues to work between 45 – 55 total hours per week. (Id.) At no point in her deposition did

 Plaintiff state – or even infer – that anxiety or mistrust impacted her busy work schedule in any

 way.

        These fundamental misapprehensions are not merely fodder for cross-examination.

 Rather, they are so fundamental as to require the Court to exercise its gatekeeper function under

 Daubert and its progeny. For the reasons set forth below, this Court should grant Defendant’s

 Motion and strike Plaintiff’s expert witnesses, Dr. Espinosa-Guanzon and Mr. Rotfus.




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                                           Law and Argument

 A.     Standard of Review.

        1. Expert Disclosures under the Federal Rules of Civil Procedure

        If a party intends to present testimony at trial from a witness who is retained to provide

 expert testimony, Rule 26(a)(2)(B) of the Federal Rules of Civil Procedure requires the party to

 submit a written report, prepared and signed by the witness. The report must include:

                (i) a complete statement of all opinions the witness will express
                and the basis and reasons for them; (ii) the facts or data considered
                by the witness in forming them; (iii) any exhibits that will be used
                to summarize or support them; (iv) the witness’s qualifications,
                including a list of all publications authored in the previous 10
                years; (v) a list of all other cases in which, during the previous 4
                years, the witness testified as an expert at trial or by deposition;
                and (vi) a statement of the compensation to be paid for the study
                and testimony in the case.

 Fed. R. Civ. P. 26(a)(2)(B) (i) – (vi).

        A Rule 26 expert report is ‘“intended to set forth the substance of the direct examination

 of the expert witness,” and must “disclose the data and other information considered by the

 expert.”’ Washington v. McKee, No. 4:06cv6, 2006 U.S. Dist. LEXIS 53707, at *4 (E.D. Va.

 Aug. 3, 2006). The purpose of the report is “to avoid the disclosure of ‘sketchy and vague’

 expert information.” Id. at *5. “An expert report satisfies Rule 26(a)(2)(B) if it is ‘sufficiently

 complete, detailed and in compliance with the Rules so that surprise is eliminated, unnecessary

 depositions are avoided, and costs are reduced.’” Id. (quoting Dunkin’ Donuts, Inc. v. Patel, 174

 F. Supp. 2d 202, 211 (D. N.J. 2001)).

        Failure to comply with the requirements of Rule 26(a) can result in sanctions under Rule

 37 of the Federal Rules of Civil Procedure. Rule 37(c)(1) states:

                If a party fails to provide information or identify a witness as
                required by Rule 26(a) or (e), the party is not allowed to use that
                information or witness to supply evidence on a motion, at a


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               hearing, or at trial, unless the failure was substantially justified or
               is harmless.

 Fed. R. Civ. P. 37(c)(1) (emphasis added).

        2. Rule 702 of the Federal Rules of Evidence

        Under Rule 702 of the Federal Rules of Evidence, as interpreted by Daubert v. Merrell

 Dow Pharms., Inc., 509 U.S. 579 (1993), district courts are tasked with a “gatekeeping role” to

 “ensure that any and all scientific testimony or evidence admitted is not only relevant, but

 reliable.” Perkins v. United States, 626 F.Supp.2d 587, 592 (E.D. Va. 2009) (citing Daubert,

 509 U.S. at 589, 597). When a judge is faced with scientific testimony, the Court must conduct a

 “preliminary assessment of whether the reasoning or methodology underlying the testimony is

 scientifically valid and of whether that reasoning or methodology properly can be applied to the

 facts in issue.” Perkins, 626 F.Supp.2d at 592; see also Daubert, 509 U.S. at 592-93; Cooper v.

 Smith & Nephew, Inc., 259 F.3d 194, 199 (4th Cir. 2001). The end goal for the Court is to make

 certain that any expert “employs in the courtroom the same level of intellectual rigor that

 characterizes the practice of an expert in the relevant field.” Kumho Tire Co. v. Carmichael, 526

 U.S. 137, 152 (1999).

        Federal Rule of Evidence 702 provides:

               If scientific, technical, or other specialized knowledge will assist
               the trier of fact to understand the evidence or to determine a fact in
               issue, a witness qualified as an expert by knowledge, skill,
               experience, training, or education, may testify thereto in the form
               of an opinion or otherwise, if (1) the testimony is based upon
               sufficient facts or data, (2) the testimony is the product of reliable
               principles and methods, and (3) the witness has applied the
               principles and methods reliably to the facts of the case.

 Fed. R. Evid. 702.

        An expert’s opinion is not to be accepted merely because it is articulated, but must

 instead have a sufficient factual basis. Anderson v. Nat’l R.R. Passenger Corp., 866 F. Supp.


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 937 (E.D. Va. 1994), aff’d, 74 F.3d 1230 (4th Cir. 1996). The burden is on Ms. Edwards. The

 proponent of the expert testimony bears the burden of establishing admissibility by a

 preponderance of the evidence. Cooper, 259 F.3d at 199; see also Perkins, 626 F.Supp.2d at

 592.

 B.     Plaintiff Failed to Submit a Report for Dr. Espinosa-Guanzon.

        Plaintiff failed to submit any expert report or disclosure on behalf of Dr. Espinosa-

 Guanzon.    Therefore, it cannot be disputed that Plaintiff has not provided the information

 required under Rule 26(a)(2)(B) of the Federal Rules of Civil Procedure in regards to Dr.

 Espinosa-Guanzon. Defendant received (i) no statement as to Dr. Espinosa-Guanzon’s opinions

 and the reasons for them; (ii) no description of the facts and data Dr. Espinosa-Guanzon

 considered in forming her opinions; (iii) no identification of any potential exhibits; and (iv) no

 description of any of Dr. Espinosa-Guanzon’s qualifications, publications, prior expert

 testimony, or compensation.

        Dr. Espinosa-Guanzon’s non-existent report and disclosure eliminate no surprises, and

 mandate additional depositions and increased costs – exactly the problems Rule 26(a)(2)(B)

 intended to avoid. See Washington v. McKee, No. 4:06cv6, 2006 U.S. Dist. LEXIS 53707, at *4-

 5 (E.D. Va. Aug. 3, 2006). This Court should grant Defendant’s motion and strike Dr. Espinosa-

 Guanzon as an expert witness for Plaintiff.

 C.     Mr. Rotfus’ Report is Inadequate and his Intended Testimony Lacks Reliability.

        Although Mr. Rotfus provided a one-paragraph report, it is entirely insufficient under

 Rule 26(a)(2)(B) of the Federal Rules of Civil Procedure. While Mr. Rotfus provides a few

 statements concerning Plaintiff’s symptoms, he fails utterly to provide anything close to a full

 and complete statement of his opinions and the facts supporting his opinions. The report makes

 no mention of potential exhibits or Mr. Rotfus’ qualifications, publications, prior expert


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 testimony, or compensation, as required by Rule 26(a)(2)(B).

         Throughout the course of discovery, Plaintiff provided certain medical records attributed

 to Mr. Rotfus; however, the majority of the records that mention a PTSD diagnosis are

 conclusory and unilluminating. For example, Mr. Rotfus submitted a handful of letters similar to

 one dated May 13, 2008, that stated:

                  To Whom it May Concern: Ms. Edwards has been seen for Re-
                  Evaluation. She continues to suffer from symptoms of Post
                  Traumatic Stress Disorder secondary to the fact that she discovered
                  that she was being watched in the shower room through a “peep-
                  hole.” This area was supposed to be private with no male access.
                  She is unable to work at this time due to her symptoms. We will
                  re-evaluate in thirty days.

 (May 13, 2008 Letter from Mr. Rotfus, Ex. 7.)3 None of these letters, the expert report, or any

 other documents received provide sufficient details to meet the requirements of Rule 26(a)(2)(B).

         In addition, Mr. Rotfus’ report and anticipated testimony lacks the reliability and factual

 basis required for admissibility under Federal Rule of Evidence 702, as well as Daubert v.

 Merrell Dow Pharms., Inc. 509 U.S. 579 (1993) and its progeny. As explained above, Rule 702

 of the Federal Rules of Evidence require expert opinions to be (i) based on sufficient facts or

 data, (ii) the product of reliable principles and methods; and (iii) based on a reliable application

 of the principles and methods to the facts of the case. See Fed. R. Evid. 702. However, Mr.

 Rotfus appears to base his opinions primarily on Plaintiff’s self-reporting, without regard to the

 accuracy of Plaintiff’s statements (or the consistency of Ms. Edwards’ self-reporting with her

 other statements or her Amended Complaint). This approach to expert opinion is unacceptable.

         In Perkins v. United States, 626 F.Supp.2d 587, 589 (E.D. Va. 2009), the plaintiff filed

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          As explained, Mr. Rotfus’ opinions also are based on false assumptions. His May 13, 2008 letter appears
 to be based on “the fact that she was being watched in the shower room through a ‘peep-hole.’” The undisputed
 facts show that Plaintiff’s co-worker, Ms. Felicia Tennessee, opened the door while both women were fully clothed
 and found Mr. Hernandez in the area outside the door. There is nothing to support an inference, as Mr. Rotfus’
 report suggests, that Plaintiff was peeped on while showering.


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 suit against the United States for injuries allegedly sustained from an automobile accident with

 an FBI employee.       The plaintiff sought to rely on opinions from her orthopedic surgeon

 regarding injury causation. The United States moved to exclude the expert’s causation testimony

 as unreliable under Daubert and its progeny because the opinions were “based solely on [the

 plaintiff’s] self-report that the injuries were caused by the motor vehicle accident.” Id. at 592.

 The court recognized that merely adopting a patient’s self-report “fails the fourth of the factors

 laid out by the notes of the Advisory Committee to the 2000 Amendments to Rule 702 of the

 Federal Rules of Evidence: ‘Whether the expert is being as careful as he would be in his regular

 professional work outside his paid litigation consulting.’” Id. (citing Bowers v. Norfolk Southern

 Corp., 537 F. Supp. 2d 1343, 1351, 1358 (M.D. Ga. 2007)).

         Similarly, in Bowers, the plaintiff filed suit against his employer for back and neck

 injuries allegedly sustained from excessive vibrations on a locomotive. The plaintiff offered an

 expert opinion from an orthopedist regarding causation. Bowers, 537 F. Supp. 2d at 1345-46,

 1352. The defendants attacked the reliability of the expert’s opinions under Rule 702 and

 Daubert. In deciding to exclude the expert’s causation testimony as unreliable, the court noted:

 “Moreover, it appears from the record that [the expert] simply took Plaintiff’s word for what

 happened and adopted that explanation as his own opinion on causation.” Id. at 1357.

         Courts recognize that “expert witnesses have the potential to ‘be both powerful and quite

 misleading.’” Cooper, 259 F.3d at 199 (citing Westberry v. Gislaved Gummi AB, 178 F.3d 257,

 261 (4th Cir. 1999)). As such, this Court, in its gatekeeping role, must assess whether an

 expert’s reasoning and methodology is scientifically valid and properly applied to the facts of the

 case. See id. Further, the court must determine whether the expert testimony is (1) based on

 sufficient facts, (2) the product of reliable principles, and (3) the result of a reliable application of




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  principles to facts. See Fed. R. Evid. 702. To be reliable, the expert opinion must be “based on

  scientific, technical, or other specialized knowledge and not on belief or speculation, and

  inferences must be derived using scientific or other valid methods.” Cooper, 259 F.3d at 200.

  Expert testimony that fails to meet the above criteria or that “has a greater potential to mislead

  than to enlighten,” should be excluded. Westberry, 178 F.3d at 261.

         Mr. Rotfus’ report lacks any hint of the degree of reliability required by Rule 702. The

  report contains statements that are inconsistent with the allegations of Plaintiff’s Amended

  Complaint and the undisputed facts uncovered during discovery. Contrary to Mr. Rotfus’ report,

  there were not “at least several men in the vicinity when this incident occurred,” there was one.

  Plaintiff has not suffered flashbacks of the locker room incident. Plaintiff was fully clothed at

  the time the holes were identified. Defendant took Plaintiff’s report seriously and, within hours

  of learning of Plaintiff’s report, the holes in the door were caulked. The entire door was later

  replaced. Defendant interviewed the farm workers and the co-worker who allegedly peeped was

  terminated. Clearly, Ms. Rotfus’ report is not based on sufficient, accurate facts and cannot be

  deemed reliable under Rule 702.

         In addition, as in Bowers, it appears that Mr. Rotfus simply took Plaintiff’s word (on any

  given day) for what happened and adopted that explanation as his own opinion as to the

  causation of her mental health issues, as opposed to examining Plaintiff’s full mental health

  history and developing a reasoned conclusion therefrom.

         This Court should strike Mr. Rotfus as an expert witness in this matter.

                                            Conclusion

         For the reasons set forth above, Defendant respectfully requests that this Court grant its

  Motion and strike Plaintiff’s expert witnesses, Dr. Espinosa-Guanzon and Mr. Rotfus.




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                                  CERTIFICATE OF SERVICE

          I hereby certify that on the 6th day of September 2011, a true copy of the foregoing

  document was electronically filed with the Clerk of Court using the CM/ECF system, which will

  then send a notification of such filing (NEF) to the following:

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